Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 1 of 143 Pageid#: 34




                Exhibit 1
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 2 of 143 Pageid#: 35
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 3 of 143 Pageid#: 36
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 4 of 143 Pageid#: 37
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 5 of 143 Pageid#: 38
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 6 of 143 Pageid#: 39
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 7 of 143 Pageid#: 40
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 8 of 143 Pageid#: 41
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 9 of 143 Pageid#: 42
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 10 of 143 Pageid#: 43
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 11 of 143 Pageid#: 44
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 12 of 143 Pageid#: 45
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 13 of 143 Pageid#: 46
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 14 of 143 Pageid#: 47
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 15 of 143 Pageid#: 48
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 16 of 143 Pageid#: 49
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 17 of 143 Pageid#: 50
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 18 of 143 Pageid#: 51
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 19 of 143 Pageid#: 52
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 20 of 143 Pageid#: 53
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 21 of 143 Pageid#: 54
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 22 of 143 Pageid#: 55
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 23 of 143 Pageid#: 56
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 24 of 143 Pageid#: 57
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 25 of 143 Pageid#: 58
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 26 of 143 Pageid#: 59
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 27 of 143 Pageid#: 60
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 28 of 143 Pageid#: 61
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 29 of 143 Pageid#: 62
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 30 of 143 Pageid#: 63
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 31 of 143 Pageid#: 64
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 32 of 143 Pageid#: 65
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 33 of 143 Pageid#: 66
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 34 of 143 Pageid#: 67
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 35 of 143 Pageid#: 68
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 36 of 143 Pageid#: 69
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 37 of 143 Pageid#: 70
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 38 of 143 Pageid#: 71
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 39 of 143 Pageid#: 72
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 40 of 143 Pageid#: 73
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 41 of 143 Pageid#: 74
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 42 of 143 Pageid#: 75
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 43 of 143 Pageid#: 76
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 44 of 143 Pageid#: 77
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 45 of 143 Pageid#: 78
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 46 of 143 Pageid#: 79
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 47 of 143 Pageid#: 80
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 48 of 143 Pageid#: 81
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 49 of 143 Pageid#: 82
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 50 of 143 Pageid#: 83
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 51 of 143 Pageid#: 84
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 52 of 143 Pageid#: 85
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 53 of 143 Pageid#: 86
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 54 of 143 Pageid#: 87
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 55 of 143 Pageid#: 88
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 56 of 143 Pageid#: 89
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 57 of 143 Pageid#: 90
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 58 of 143 Pageid#: 91
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 59 of 143 Pageid#: 92
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 60 of 143 Pageid#: 93
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 61 of 143 Pageid#: 94
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 62 of 143 Pageid#: 95
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 63 of 143 Pageid#: 96
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 64 of 143 Pageid#: 97
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 65 of 143 Pageid#: 98
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 66 of 143 Pageid#: 99
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 67 of 143 Pageid#: 100
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 68 of 143 Pageid#: 101
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 69 of 143 Pageid#: 102
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 70 of 143 Pageid#: 103
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 71 of 143 Pageid#: 104
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 72 of 143 Pageid#: 105
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 73 of 143 Pageid#: 106
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 74 of 143 Pageid#: 107
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 75 of 143 Pageid#: 108
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 76 of 143 Pageid#: 109
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 77 of 143 Pageid#: 110
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 78 of 143 Pageid#: 111
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 79 of 143 Pageid#: 112
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 80 of 143 Pageid#: 113
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 81 of 143 Pageid#: 114
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 82 of 143 Pageid#: 115
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 83 of 143 Pageid#: 116
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 84 of 143 Pageid#: 117
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 85 of 143 Pageid#: 118
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 86 of 143 Pageid#: 119
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 87 of 143 Pageid#: 120
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 88 of 143 Pageid#: 121
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 89 of 143 Pageid#: 122
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 90 of 143 Pageid#: 123
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 91 of 143 Pageid#: 124
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 92 of 143 Pageid#: 125
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 93 of 143 Pageid#: 126
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 94 of 143 Pageid#: 127
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 95 of 143 Pageid#: 128
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 96 of 143 Pageid#: 129
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 97 of 143 Pageid#: 130
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 98 of 143 Pageid#: 131
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 99 of 143 Pageid#: 132
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 100 of 143 Pageid#: 133
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 101 of 143 Pageid#: 134
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 102 of 143 Pageid#: 135
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 103 of 143 Pageid#: 136
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 104 of 143 Pageid#: 137
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 105 of 143 Pageid#: 138
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 106 of 143 Pageid#: 139
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 107 of 143 Pageid#: 140
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 108 of 143 Pageid#: 141
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 109 of 143 Pageid#: 142
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 110 of 143 Pageid#: 143
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 111 of 143 Pageid#: 144
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 112 of 143 Pageid#: 145
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 113 of 143 Pageid#: 146
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 114 of 143 Pageid#: 147
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 115 of 143 Pageid#: 148
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 116 of 143 Pageid#: 149
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 117 of 143 Pageid#: 150
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 118 of 143 Pageid#: 151
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 119 of 143 Pageid#: 152
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 120 of 143 Pageid#: 153
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 121 of 143 Pageid#: 154
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 122 of 143 Pageid#: 155
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 123 of 143 Pageid#: 156
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 124 of 143 Pageid#: 157
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 125 of 143 Pageid#: 158
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 126 of 143 Pageid#: 159
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 127 of 143 Pageid#: 160
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 128 of 143 Pageid#: 161
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 129 of 143 Pageid#: 162
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 130 of 143 Pageid#: 163
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 131 of 143 Pageid#: 164
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 132 of 143 Pageid#: 165
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 133 of 143 Pageid#: 166
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 134 of 143 Pageid#: 167
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 135 of 143 Pageid#: 168
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 136 of 143 Pageid#: 169
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 137 of 143 Pageid#: 170
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 138 of 143 Pageid#: 171
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 139 of 143 Pageid#: 172
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 140 of 143 Pageid#: 173
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 141 of 143 Pageid#: 174
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 142 of 143 Pageid#: 175
Case 7:19-cv-00275-MFU Document 1-1 Filed 03/29/19 Page 143 of 143 Pageid#: 176
